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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

ANTHONY NWACHUKWU                              :

v.                                             :      Case No. 3:16 CV 00704-CSH

LIBERTY BANK                                   :      MARCH 12, 2018

DEFENDANT’S REPLY BRIEF IN FURTHER SUPPORT OF ITS MOTION FOR
     PROTECTIVE ORDER PURSUANT TO D. CONN. L. CIV. R. 7 (d)


         The Defendant, Liberty Bank, files this reply brief pursuant to

D. Conn. L. Civ. R. 7 (d) in order to address arguments made by the Plaintiff, Anthony

Nwachukwu, in his Objection to Defendant’s Motion for Protective Order, which was

filed on February 27, 2018.

         The Plaintiff, in his Memorandum of Law In Support of Plaintiff’s Objection to

Defendant’s Motion for Protective Order (Objection), misconstrues the central purpose

behind the Defendant’s filing a Motion for Protective Order. The Plaintiff appears to

think that it is an objection to the Plaintiff’s Interrogatories and Requests for Production

(which he attached to the Objection). It is not.

         The Defendant originally filed this motion for Protective Order on November 17,

2017, in order to shield from disclosure items, were they to exist, that would otherwise be

required to be disclosed under Federal Rule of Civil Procedure 26(a)(1). The deadline for

the 26(a)(1) disclosures was looming at that time period. The Defendant filed the Motion

for Protective Order in conjunction with its disclosures under Rule 26(a)(1) so as to




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prohibit the disclosure of discovery of certain documents, should they exist. The Motion

for Protective Order was not filed in response to the Plaintiff’s interrogatories or requests

for production. The impetus for its filing was the requirements of 26(a)(1), which could

potentially require a party to violate the law by requiring the disclosure of certain

protected documents. Liberty Bank acknowledges that the Protective Order might extend

to information or documents also sought in Plaintiff’s discovery. However, Defendant

intends to respond or object to Plaintiff’s discovery in course. The Protective Order is

merely an attempt to deal with potential disclosure conflicts that may exist. In that sense,

it is reactive to Rule 26(a)(1) and proactive concerning expected discovery. The

Defendant believes this issue, as explained to counsel for Plaintiff, must be resolved by

the Court before the parties can move forward with discovery.

        Moreover, it bears pointing out to the Court that the Plaintiff expressly admits that

solid grounds exist for the Court granting the Defendant’s Motion for Protective Order.

The Plaintiff states in the Objection: “We concede that despite the strict requirements of

Rule 26(c) regarding disclosure, that the regulations cited by the Defendant, such as 31

U.S.C. Section 5318(g) and 12 CFR Section 21.11 (k), would preclude the Defendant

from disclosing information or documents covered by those federal regulations, and that

a protective order from disclosing such information would be appropriate.” See Objection

p. 6.




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        The Plaintiff complains that: “The Defendant ignored the requirements of Rule

26(c) based upon its cavalier, unsupported claim that such a conference ‘would be

impossible’ based upon the nature of the relief sought.” Objection p. 5. The Defendant

acknowledges that the parties are required to confer and make a good faith effort to

resolve simple objections to interrogatories and requests for production prior to seeking a

ruling from the Court. However, the very nature of the relief sought in the Protective

Order makes it impossible for the parties to confer and resolve the issues contained

therein, as it concerns documents or information that may or may not exist. If the

documents or information that are the subject of the Protective Order do exist, the

Defendant is not permitted to discuss them or even acknowledge their existence.

        Once the Court has ruled on the Motion for Protective Order, the Defendant is

happy to discuss the Plaintiff’s discovery requests. Defendant fully intends to respond or

object the Plaintiff’s interrogatories and requests for production. If there are objections to

the Plaintiff’s discovery requests, Defendant will do so in a detailed and specific manner

as prescribed by the Rules of Civil Procedure. In any event, there is no prejudice suffered

by Plaintiff in Defendant seeking this Protective Order as a preliminary manner. 1 The

deadline for completion of discovery is August 2018.

        Finally, the Plaintiff argues that the Defendant has not met the “good cause”

standard under Rule 26(c). In reality, there is the potential for civil and criminal penalties


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  The Plaintiff, himself, has not made any Rule26(a)(1) disclosures and the Defendant has not served
discovery on the Plaintiff, which the Defendant fully intends to do once we get guidance from the Court on
the Protective Order.




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for the disclosure of the materials, if they exist, that are the subject of the Motion for

Protective Order. Accordingly, there is good cause for seeking the Protective Order as it

may protect a party from running afoul of federal laws and regulations with strict

penalties.

       For the foregoing reasons, and for the reasons articulated in the Memorandum of

Law in Support of the Motion for Protective Order, the Defendant respectfully requests

that the Motion for Protective Order be granted.




                                               DEFENDANT,
                                               LIBERTY BANK

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                            CERTIFICATION OF SERVICE



         I hereby certify that on March 12, 2018, a copy of the foregoing Motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent by e-mail to all parties by operation of the Court’s electronic filing
system or by mail to anyone unable to accept electronic filing as indicated on the Notice
of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.


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